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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,              )
                                       )
                  Plaintiff,           )
                                       )
v.                                     )                         Case No. 02-40157-JAR
                                       )
CLIVE ANTHONY HAMILTON,                )
                                       )
                  Defendant.           )
_______________________________________)

                                  MEMORANDUM AND ORDER

       This matter is before the court on defendant Clive Hamilton’s pro se motion for reduction of

sentence (Doc. 1074) pursuant to 18 U.S.C. § 3582(c)(2) in which Mr. Hamilton asks the court to

reduce his sentence based on Amendment 782 to the United States Sentencing Guidelines which took

effect on November 1, 2014 and lowers the base offense levels in the Drug Quantity Table. On July

18, 2014, the United States Sentencing Commission voted to apply the amendment retroactively to

those offenders currently in prison, but with a requirement that the reduced sentences cannot take

effect until November 1, 2015.

       The Honorable J. Thomas Marten of the District of Kansas recently appointed the Office of the

Federal Public Defender to represent any defendant previously determined to have been entitled to

appointment of counsel, or who is now indigent, to determine whether that defendant may qualify for

relief under Amendment 782. The record reflects that Mr. Hamilton may be entitled to have the

Federal Public Defender represent him to determine in the first instance whether Mr. Hamilton

qualifies for relief under the amendment. In light of these circumstances, the court believes that the

most efficient way to resolve the issue raised by Mr. Hamilton is to forward his motion (along with a

copy of this order) to the Office of the Federal Public Defender for an initial determination of whether




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Mr. Hamilton qualifies for representation and is entitled to a reduction in his sentence in light of the

amendment. In the meantime, the court will deny Mr. Hamilton’s motion without prejudice to refiling

the motion on or after February 2, 2015 if the Office of the Public Defender declines to seek relief for

Mr. Hamilton under Amendment 782.

        IT IS THEREFORE ORDERED that Mr. Hamilton’s motion for reduction of sentence (Doc.

1074) pursuant to 18 U.S.C. § 3582(c)(2) is denied without prejudice to refiling on or after February 2,

2015.

        IT IS FURTHER ORDERED that the Clerk of the Court shall forward to the Office of the

Federal Public Defender a copy of this order along with a copy of Mr. Hamilton’s pro se motion for

reduction of sentence.

        IT IS SO ORDERED.

Dated: December 3, 2014
                                                       S/ Julie A. Robinson
                                                      JULIE A. ROBINSON
                                                      UNITED STATES DISTRICT JUDGE




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